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11
                                 UNITED STATES DISTRICT COURT
12
                               NORTHERN DISTRICT OF CALIFORNIA
13
   THERESA SWEET, ALICIA DAVIS,             CASE NO. 19-cv-03674-WHA
14 TRESA APODACA, CHENELLE
   ARCHIBALD, DANIEL DEEGAN,                INTERVENOR AMERICAN NATIONAL
15 SAMUEL HOOD, and JESSICA                 UNIVERSITY’S NOTICE OF APPEAL
   JACOBSON on behalf of themselves
16 and all others similarly situated,       (Class Action)
                                            (Administrative Procedure Act Case)
17                 Plaintiffs,

18         v.

19 MIGUEL CARDONA, in his official
   capacity as Secretary of the United
20 States Department of Education, and

21 THE UNITED STATES
   DEPARTMENT OF EDUCATION,
22

23               Defendants,

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                INTERVENOR AMERICAN NATIONAL UNIVERSITY’S NOTICE OF APPEAL
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 1 TO THE HONORABLE COURT, PARTIES, AND COUNSEL OF RECORD:

 2         Pursuant to 28 U.S.C. § 1291 and Federal Rule of Appellate Procedure 4(a)(1)(B), notice is

 3 hereby given this 13th day of January, 2023, that Intervenor American National University

 4 (“American National”) appeals to the United States Court of Appeals for the Ninth Circuit from (1)

 5 the Final Judgment (ECF No. 346) entered on November 16, 2022; (2) the Order Granting Final

 6 Settlement Approval (ECF No. 345) entered on November 16, 2022; and (3) the Order Re Motions

 7 to Intervene (ECF No. 322) entered on August 31, 2022. Additionally, pursuant to Fed. R. App. P.

 8 12(b) and Circuit Rule 3-2(b), the Representative Statement is attached as Exhibit A.

 9

10 DATED: January 13, 2023                      Respectfully submitted,

11                                              MCGUIREWOODS LLP
12

13                                              By: /s/ John S. Moran
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14                                                  John S. Moran, Esq.
15                                              Attorneys for Intervenor
                                                American National University
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                  INTERVENOR AMERICAN NATIONAL UNIVERSITY’S NOTICE OF APPEAL
     Case 3:19-cv-03674-WHA Document 349 Filed 01/13/23 Page 3 of 6




 1                    EXHIBIT A: REPRESENTATION STATEMENT

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                                          EXHIBIT A
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                                           EXHIBIT A
       Case 3:19-cv-03674-WHA Document 349 Filed 01/13/23 Page 6 of 6




 1                                    CERTIFICATE OF SERVICE

 2          I hereby certify that on January 13, 2023, the foregoing document entitled INTERVENOR

 3 AMERICAN NATIONAL UNIVERSITY’S NOTICE OF APPEAL was filed electronically

 4 with the Clerk of the Court for the United States District Court, Northern District of California using

 5 the ECF system. Upon completion the ECF system will automatically generate a “Notice of

 6 Electronic Filing” as service through ECF to registered e-mail addresses of parties of record in the

 7 case.

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 9                                          /s/ John S. Moran
                                            John S. Moran
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                                          CERTIFICATE OF SERVICE
